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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   UNITED STATES OF AMERICA

   v.                                              Case No.: 1:21-cr-00371-BMC-TAM
   AL MALIK ALSHAHHI, et al.

                 Defendants.



                         DEFENDANT THOMAS J. BARRACK, JR.’S
                              MOTION TO RECONSIDER

         The defendant Thomas J. Barrack, Jr. hereby joins defendant Matthew Grimes’s motion

  to reconsider the defendants’ motions to dismiss the indictment in light of the Supreme Court’s

  decision in Ruan v. United States , No. 20-1410 (U.S. June 27, 2022).
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   Dated: New York, New York                   Respectfully submitted,
          June 29, 2022


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